Case 1:14-cv-01611-LO-JFA Document 675 Filed 11/19/15 Page 1 of 2 PagelD# 17857

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IN THE UNITED STATES DISTRICT COURT | NOV IS 2015
FOR THE EASTERN DISTRICT OF VIRGINIA 4 4
Alexandria Division | aw ENAt 23):
)
BMG RIGHTS MANAGEMENT (US) )
LLC, and ROUND HILL MUSIC LP, )
) Civil No. 1:14-cv-1611
Plaintiffs, )
) Hon. Liam O’Grady
v. )
)
COX COMMUNICATIONS, INC., and )
COXCOM, LLC, )
)
Defendants. ;

 

ORDER

This Order resolves several outstanding motions in this action. The parties have cross-
moved for summary judgment. (Dkt. Nos. 305, 310). On October 30, 2015, the Court heard oral
argument on those motions. Defendants have also filed a Motion to Enforce Spoliation Order
asking the Court to dismiss the case. (Dkt. No. 525). Plaintiffs moved to strike that motion.
(Dkt. No. 600). Pursuant to Federal Rule of Civil Procedure 78, the Court concludes oral
argument on these additional motions is unnecessary. All of these matters are fully briefed and
ripe for consideration.

For the reasons stated in a forthcoming memorandum opinion, the Court DENIES
defendants’ Motion for Summary Judgment (Dkt. No. 305), and the Court GRANTS Plaintiffs’
Motion for Partial Summary Judgment in part and DENIES it in part (Dkt. No. 310). The Court
GRANTS plaintiffs’ motion with respect to ownership of the copyrights that plaintiff BMG
Rights Management (US) LLC purports to own. The Court DENIES the motion with respect to

ownership of the copyrights that plaintiff Round Hill Music LP (“Round Hill”) purports to own.
Case 1:14-cv-01611-LO-JFA Document 675 Filed 11/19/15 Page 2 of 2 PagelD# 17858

Upon consideration of the parties’ supplemental briefing submitted in response to the Court’s
Order of October 28, 2015 (Dkt. No. 501), the Court finds Round Hill does not own any
exclusive right with respect to the copyrights at issue and accordingly does not have standing to
bring an infringement action. The Court GRANTS the motion with respect to defendants’ safe-
harbor defense under the Digital Millennium Copyright Act (“DMCA”). There is no genuine
issue of material fact as to whether defendants reasonably implemented a repeat-infringer policy
as is required by § 512(i) of the DMCA. See 17 U.S.C. § 512(i).

Defendants’ Motion to Enforce Spoliation Order (Dkt. No. 525) is DENIED. The Court
will rule on the appropriate evidentiary sanction based on Judge Anderson’s spoliation findings
on or before trial. Plaintiffs’ Motion to Strike Defendants’ Motion to Enforce Spoliation Order
and Impose Sanctions (Dkt. No. 600) is DENIED as moot. The Clerk is DIRECTED to remove
the argument on these motions set for November 20, 2015.

So ORDERED.

November AG, 2015
Alexandria, Virginia

/si \ORR
Liam O’Grady
United States District Judge
